                    UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Cheri Jo Fleisher
     Heath Brian Fleisher
                                            Case No.: 1-18-02704HWV

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Planet Home Lending
 Court Claim Number:             8
 Last Four of Loan Number:       0810
 Property Address if applicable: 161 Dellville Dam Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $19,922.00
 b.      Prepetition arrearages paid by the trustee:                         $19,922.00
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.      Allowed postpetition arrearage:                                     $0.00
 f.       Postpetition arrearage paid by the trustee:                        $0.00
 g.       Total b, d, and f:                                                 $19,922.00

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: June 22, 2023
                                                       Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


   Re:        Cheri Jo Fleisher                              Case No.: 1-18-02704HWV
              Heath Brian Fleisher
                                                             Chapter 13


                                 CERTIFICATE OF SERVICE


I certify that I am more than 18 years of age and that on June 22, 2023 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Jerry A Philpott, Esquire
  227 N High St
  PO Box 116
  Duncannon PA 17020


  Served by First Class Mail
  Planet Home Lending LLC
  321 Research Parkway #303
  Meriden CT 06450

  Cheri Jo Fleisher
  Heath Brian Fleisher
  161 Dellville Dam Rd
  Shermans Dale PA 17090


  I certify under penalty of perjury that the foregoing is true and correct.



  Date: June 22, 2023                                   /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                                Disbursements for Claim
Case: 18-02704            CHERI JO FLEISHER
         PLANET HOME LENDING LLC
                                                                                    Sequence: 24
         321 RESEARCH PARKWAY STE 303
                                                                                       Modify:
                                                                                   Filed Date:
         MERIDEN, CT 06450-
                                                                                   Hold Code:
 Acct No: 161 Delville Dam Rd - PRE-ARREARS - 0810
         ARREARS - 161 DELVILLE DAM ROAD


                                                  Debt:         $19,922.00      Interest Paid:              $0.00
        Amt Sched:                $149,647.88                                     Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:        $19,922.00       Balance Due:                $0.00

Claim name                               Type        Date        Check #     Principal    Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        PLANET HOME LENDING LLC
520-0 PLANET HOME LENDING LLC                    01/18/2023      2021093      $568.58       $0.00     $568.58 01/26/2023


520-0 PLANET HOME LENDING LLC                    12/13/2022      2020098      $298.30       $0.00     $298.30 12/20/2022


520-0 PLANET HOME LENDING LLC                    11/16/2022      2019143      $596.61       $0.00     $596.61 12/08/2022


520-0 PLANET HOME LENDING LLC                    10/18/2022       2018111     $927.64       $0.00     $927.64 10/25/2022


520-0 PLANET HOME LENDING LLC                    09/13/2022      2017040      $314.67       $0.00     $314.67 09/20/2022


520-0 PLANET HOME LENDING LLC                    08/17/2022      2016037      $944.00       $0.00     $944.00 08/25/2022


520-0 PLANET HOME LENDING LLC                    07/13/2022      2014964      $585.71       $0.00     $585.71 07/21/2022


520-0 PLANET HOME LENDING LLC                    06/14/2022      2013997      $292.86       $0.00     $292.86 06/27/2022


520-0 PLANET HOME LENDING LLC                    05/17/2022      2012965      $878.56       $0.00     $878.56 05/25/2022


520-0 PLANET HOME LENDING LLC                    04/12/2022      2011885      $292.85       $0.00     $292.85 04/25/2022


520-0 PLANET HOME LENDING LLC                    03/16/2022      2010866      $878.57       $0.00     $878.57 03/28/2022


520-0 PLANET HOME LENDING LLC                    02/16/2022      2009873      $292.85       $0.00     $292.85 02/25/2022


520-0 PLANET HOME LENDING LLC                    01/19/2022      2008902      $877.66       $0.00     $877.66 01/26/2022


520-0 PLANET HOME LENDING LLC                    12/15/2021      2007889      $584.80       $0.00     $584.80 12/31/2021



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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
520-0 PLANET HOME LENDING LLC           11/16/2021    2006868      $584.80      $0.00     $584.80 12/01/2021


520-0 PLANET HOME LENDING LLC           10/14/2021    2005837     $1,204.20    $0.00    $1,204.20 10/26/2021


520-0 PLANET HOME LENDING LLC           08/18/2021    2003789      $602.10     $0.00     $602.10 08/26/2021


520-0 PLANET HOME LENDING LLC           07/14/2021    2002717      $602.10     $0.00     $602.10 07/26/2021


520-0 PLANET HOME LENDING LLC           06/16/2021    2001740      $602.10     $0.00     $602.10 06/25/2021


520-0 PLANET HOME LENDING LLC           05/18/2021     2000741     $582.89     $0.00      $582.89 05/27/2021


520-0 PLANET HOME LENDING LLC           04/15/2021    1229357      $313.38     $0.00      $313.38 04/29/2021


520-0 PLANET HOME LENDING LLC           03/17/2021    1228347      $313.37     $0.00     $313.37 03/24/2021


520-0 PLANET HOME LENDING LLC           02/17/2021    1227329      $313.38     $0.00      $313.38 02/25/2021


520-0 PLANET HOME LENDING LLC           01/19/2021    1226312      $313.38     $0.00      $313.38 01/25/2021


520-0 PLANET HOME LENDING LLC           12/10/2020    1224528       $635.71    $0.00      $635.71 12/16/2020


520-0 PLANET HOME LENDING LLC           10/15/2020    1222752      $354.22     $0.00      $354.22 10/26/2020


520-0 PLANET HOME LENDING LLC           09/17/2020    1221760       $354.21    $0.00      $354.21 10/07/2020


520-0 PLANET HOME LENDING LLC           08/12/2020    1220699       $354.21    $0.00      $354.21 08/19/2020


520-0 PLANET HOME LENDING LLC           07/07/2020    1219657       $531.31    $0.00      $531.31 07/14/2020


520-0 PLANET HOME LENDING LLC           06/02/2020    1218632      $398.49     $0.00      $398.49 06/11/2020


520-0 PLANET HOME LENDING LLC           05/06/2020    1217655       $354.21    $0.00      $354.21 05/14/2020


520-0 PLANET HOME LENDING LLC           04/14/2020    1216642      $642.60     $0.00     $642.60 04/22/2020


520-0 PLANET HOME LENDING LLC           02/13/2020     1214051     $321.30     $0.00     $321.30 02/20/2020


520-0 PLANET HOME LENDING LLC           01/16/2020    1212703      $321.30     $0.00     $321.30 01/22/2020


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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
520-0 PLANET HOME LENDING LLC           12/12/2019       1211336      $321.30      $0.00     $321.30 12/18/2019


520-0 PLANET HOME LENDING LLC           11/07/2019       1209968      $741.37     $0.00     $741.37 11/14/2019


520-0 PLANET HOME LENDING LLC           10/10/2019       1208813       $43.91     $0.00        $43.91 10/16/2019


520-0 PLANET HOME LENDING LLC           09/26/2019       1207704      $609.16     $0.00      $609.16 10/01/2019


520-0 PLANET HOME LENDING LLC           08/07/2019       1206215      $173.34     $0.00     $173.34 08/14/2019


                                                      Sub-totals: $19,922.00      $0.00 $19,922.00

                                                     Grand Total: $19,922.00      $0.00




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